Case 8:23-cv-02501-VMC-NHA Document 49 Filed 03/01/24 Page 1 of 2 PageID 268



                    UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

MICHAEL T. FLYNN,

       Plaintiff,

v.                                            Case No.: 8:23-cv-02501-VMC-UAM

FRED WELLMAN,

       Defendant.
                                       /

              DEFENDANT’S NOTICE OF FILING OF MISSING
         EXHIBITS TO ACCOMPANY HIS MOTION FOR SANCTIONS

     COMES NOW, Defendant Fred Wellman (“Mr. Wellman”), by and through his

undersigned counsel, to respectfully file the exhibits inadvertently omitted from

the filing of his Motion for Sanctions (Dkt. 47).

                              Respectfully submitted,

/s/ Joshua M. Entin                           /s/Mark S. Zaid
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Case 8:23-cv-02501-VMC-NHA Document 49 Filed 03/01/24 Page 2 of 2 PageID 269



                         CERTIFICATE OF SERVICE

I hereby certify that on March 1, 2024, I caused the foregoing to be filed
electronically with the Clerk of the Court by using the CM/ECF system, which
will send notice of electronically to:

                        Jared J. Roberts, Esq.
                        Shawn M. Flynn, Esq.

                        Plaintiff’s Counsel

                                              /s/ Mark S. Zaid, Esquire




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